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IN THE UNITED sTATEs DISTRICT coURT mm _
FoR THE wEsTERN DISTRICT oF TENNESSEE 05"`\’1““ |9 Fi‘i J 14_

WESTERN DIVISION
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WD. bF~“ ';N, rw_;WPng
HAE SOOK LEE, ANGIE HEE JUNG

LEE, INAE LEE, OK YON CHI, MOO
K. YUN, and LYDIA SON,

Plaintiffs/
Counter Defendants,

v. Civil NO. 03»2582 Ml/P

HEUNG-SHIK MIN, HYUNG JOON MIN,
and HOME OF CHEERS CORP AKA
HOUSE OF CHEERS CORP,

Defendants/
Counter Plaintiffs.

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ORDER ON DISCOVERY MOTIONS

 

Before the court are the following motions: (l) Defendants'
Motion for Order Compelling Plaintiffs to Appear for Depositions
and Fully' Respond, to Defendants' Interrogatories and Document
Requests, filed on April 5, 2005 (dkt #33}; (2) Plaintiffs' Motion
to Compel the .Deposition. of Hyung .Joon. Min_ and the Keeper‘ of
Records of Home of Cheers Corp., filed on April 6, 2005 (dkt #34);
and (3) Plaintiff's Motion to Amend Scheduling Order to Enlarge

Time Within Which to Complete Discovery, filed on April 6, 2005

(dkt #35). On April 19, 2005, the court held a hearing on these
motions. Counsel for all parties were present and heard. For
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reasons stated on the record¢ and as summarized below, these
motions are GRANTED in part and DENIED in part, as follows:

l. By agreement of the parties, all named plaintiffs shall appear
for their depositions beginning on May lB, 2005, and continuing
until complete.

2. Plaintiff Moo K. Yun failed to provide any timely responses to
Defendants’ interrogatories and requests for admissions, which were
served on October 22, 2004. Her failure to respond to these
discovery requests constitutes a waiver of any objections,
including objections based on relevance. §§e Fed. R. Civ. Proc.
33(b)(4), 34(b); Blackmond v. UT Medical Group, lnc., No. 02-2890,
2003 WL 22385678, at *l (W.D. Tenn. 2003)(unpublished); Jones v.
Am. Gen. Life and Accidel'lt IHS. CO., NO. 101-003, 2002 WL 32073037,
at *6 (S.D. Ga. 2002)(unpublished); Land Ocean Logistics, Inc. v.
Agua Gulf Corp., 181 F.R.D. 229, 237 (W.D.N.Y. 1998); Pulsecardl
lnc. v. Discover Card Servs., Inc., 168 F.R.D. 295, 303 (D.Kan.
1996) .

Therefore, Plaintiff Yun is hereby ordered to fully respond to
each of Defendants’ interrogatories and document requests (with the
exception of federal and state tax returns, as described below) by
no later than May 2, 2005.

3. In addition, the remaining five plaintiffs also failed to
timely respond to interrogatories and document requests, despite

extensions of time to respond allowed by Defendants. Moreover,

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specifically with respect to interrogatories 2, 5, 6, and 8, and
document requests 15 and 17, the court finds that these discovery
requests seek relevant and non*privileged information, and
therefore must be produced. Regarding document request 14,
however, the court finds that the time period of the request (1996
to the present) seeks irrelevant information and is overly broad
with respect to the federal and state tax returns for Plaintiffs
Moo K. Yun, Inae Lee, Ok Yon Chi, and Lydia Son. Therefore, these
four plaintiffs need only produce federal and state tax returns for
the period 2001 to the present. All of these discovery responses
shall be provided to Defendant by no later than May 2, 2005.

4. By agreement of the parties, Plaintiff will be allowed to
depose Defendant Hyung Joon Min in the district where he resides.
5. Other than the discovery described above, the parties are not
entitled to any additional discovery.

6. All dates, including the trial dater shall remain the same.

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TU M. PHAM
United States Magistrate Judge

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Date ‘! '

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02582 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

